Case 19-10888-KHK            Doc 65    Filed 07/10/20 Entered 07/10/20 08:16:42    Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTER DISTRICT OF VIRGINIA
                                       Alexandria Division


      In re MARK ANTHONY ANDERSON                          Case No. 19-10888
                                                           Chapter 13
               Debtor

      New Rez, LLC D/B/A Shellpoint
      Mortgage Servicing
            Plaintiff
      v.

      Mark Anthony Anderson
      and
      Lataunia Anderson
      and
      Thomas P. Gorman, Trustee
      ____________________________________________________________________


                                  OBJECTION TO NOTICE OF DEFAULT

               The debtor, Brian Mark Anthony Anderson, responds to the Notice of

      Default filed herein by New Rez, LLC as follows:

                         The Debtor has partially cured the stated arrearage and can
                         become post-petition current within 30 days.




      _______________
      Nathan Fisher
      3977 Chain Bridge Rd., #2
      Fairfax, VA 22030
      VSB #37161
      (703) 691-1642
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              For these reasons an Order Granting Relief should not be entered at this

      time.


      Date: July 10, 2020                                /s/ Nathan Fisher
                                                         Nathan Fisher
                                                         Attorney for Debtor
                                                         State Bar No. 37161
                                                         3977 Chain Bridge Rd., #2
                                                         Fairfax, VA 22030
                                                         (703) 691-1642




                              CERTIFICATION OF SERVICE

              I hereby certify that on this 10th day of July, 2020, I have mailed copies
      of the foregoing by first-class mail, postage prepaid, to:

      Mark Anderson
      1411 Admiral Drive
      Woodbridge, VA 22192

      Thomas Gorman
      Chapter 13, Trustee
      300 N. Washington St., Ste. 400
      Alexandria, VA 22314

      Lauren French, Esq.
      BWW Law Group, LLC
      8100 Three Chopt Road, Ste. 240
      Richmond, VA 23229


                                                  /s/ Nathan Fisher
                                                  Nathan Fisher
                                                  Attorney for Debtor
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